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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SELINA MARIE RAMIREZ, et al.,                  §
                                               §
                     Plaintiffs,               §
v.                                             §    CIVIL ACTION NO. 3:19-CV-1529-L
                                               §
CITY OF ARLINGTON, TEXAS, et al.,              §
                                               §
                     Defendants.               §

                       NOTICE OF APPEARANCE OF COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

       Michael L. Martin, of Brown & Hofmeister, L.L.P., hereby enters his appearance as

attorney of record on behalf of Defendant Jeremias Guadarrama in this cause of action.   Mr.

Edwin P. Voss, Jr. shall remain as Defendant Guadarrama’s lead counsel of record.

                                             Respectfully submitted,

                                             By:     /s/ Michael L. Martin
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                                             JEREMIAS GUADARRAMA




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                               CERTIFICATE OF SERVICE

       A copy of the foregoing document was served electronically through the court’s ECF

system on all counsel of record on August 21, 2019.


                                                      /s/ Michael L. Martin
                                                      Michael L. Martin




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